                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA



UNITED STATES OF AMERICA                          )
                                                  )
                                                  )           No. 1:05-CR-103
v.                                                )
                                                  )           Judge Curtis L. Collier
                                                  )
PHILIP ALLEN DRISCOLL, et al.                     )



                                             ORDER

        Defendant Annie Blankenship (“Blankenship”) has moved for a continuance of the trial

scheduled to start on March 7, 2006 (Court File No. 42). The Government and Blankenship’s two

codefendants do not object to the motion (Id). Blankenship has asked for a continuance because her

counsel, Douglas Trant, is recuperating from a “major surgery” (Court File No. 42, Affidavit of

Douglas A. Trant). While the Court is sympathetic to Mr. Trant’s circumstances, a continuance of

the trial date will not be granted.

        The Court’s trial schedule is such that continuing criminal trials, especially a trial of this

length and complexity, poses difficulties. From the date of the indictment until the scheduled trial

date is approximately seven months, much longer than is typical for the Court’s criminal cases. The

indictment in this case was filed on August 17, 2005. The Court also observes it previously granted

a request to continue the case. The trial originally was set to take place on November 2, 2005 (Court

File Nos. 1, 11). Defendants moved to continue the trial and have the case designated complex

(Court File No. 6). Defendants’ request was granted on September 23, 2005 and the trial was

rescheduled to begin on March 7, 2006 (Court File No. 22). While the Court is unable to grant the




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motion, the Court will endeavor to accommodate Mr. Trant during the course of the trial by taking

breaks or shortening the trial day. Accordingly, Blankenship’s motion to continue the trial is

DENIED.

       SO ORDERED.

       ENTER:


                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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